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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

BRENDA BROWN,                                        )
                                                     )
        Plaintiff,                                   )
                                                     ) Civil Action No. 16-cv-11152
vs.                                                  )
                                                     )
KELLY SERVICES, INC.                                 ) Judge Marvin E. Aspen
                                                     )
        Defendant.                                   )

                     PLAINTIFF’S OBJECTION TO THE DEFENDANT’S
                           PROPOSED JURY VERDICT FORM

        Pursuant to the Court’s order entered August 28, 2017 (Docket No. 39), the Plaintiff,

Brenda Brown, objects to the Defendant’s Proposed Jury Verdict Form (Docket No. 42) and

states as follows:

        The Plaintiff opposes the Defendant’s Proposed Jury Verdict Form because it fails to

include punitive damages. Punitive damages are available on Brown’s claim of retaliation

brought pursuant to Section 1981 of the Civil Rights Act. See, 42 U.S.C. § 1981a(b)(4) The

Defendant, however, asserts that its conduct does not give rise to the type of behavior that would

justify the imposition of punitive damages. (See Defendant’s Objection to Plaintiff’s Proposed

Jury Instruction No. 3 on Punitive Damages, Docket No. 46) Defendant is wrong.

        As a threshold matter, the Supreme Court in Kolstad v. American Dental Ass'n, 527 U.S.

526 (1999) rejected the argument that punitive damages are only available in “extraordinarily

egregious” cases. Id. 527 U.S. at 533 Consequently, Plaintiff does not have to show that

Defendant engaged in shocking behavior when it retaliated against the Plaintiff by terminating

her because she complained about race discrimination. Rather, the mere act of retaliation
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followed by Defendant’s attempts to hide it have been found to be the kind of insidious behavior

to support punitive damage awards. Gracia v. Sigmatron International, Inc., 102 F. Supp. 3d

983, 993 (N.D. Ill. 2015) This is precisely the conduct engaged in by the Defendant that justifies

submitting punitive damages to the jury here.

         The Plaintiff will present evidence at trial showing that on June 20, 2016, she complained

to the Branch Manager about what she perceived to be discriminatory treatment by another

recruiter in the treatment and placement of African-American job candidates. Following that

complaint, the Plaintiff felt she was being forced out of the company and voiced her concerns

about the hostile environment to her manager on June 27, 2017. The next day, her manager

informed Brown that her assignment had been discontinued for business reasons, effective July

1st.

         The close temporal proximity between the Plaintiff’s protected activity and her

termination gives rise to an inference of retaliation. See, Benuzzi v. Bd. of Educ. of Chi., 647 F.3d

652, 665 (7th Cir. 2011) To avoid the consequences of its actions, the Defendant engages in a

series of lies and deceit to break this inference of retaliation. It falsely denied that Plaintiff

complained about discrimination at the June 20th meeting. Yet, her co-worker, who was the

subject of the complaint, admits she did. The Defendant then attempts to disparage the Plaintiff’s

work performance by alleging she did not satisfactorily perform her job when all the evidence

points to the contrary. Finally, and most important, the Defendant’s justification for terminating

the Plaintiff - the ending of the in-house temporary positions for budgetary reasons - was itself a




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lie because the evidence shows only the Plaintiff was terminated for that alleged reason.1

       The jury must be permitted to consider whether an award of punitive damages is

necessary to punish the Defendant for its retaliatory conduct and cover-up. Indeed, the decision

to award punitive damages and the amount is within the province of the jury to decide, not the

court. Lampley v. Onyx Acceptance Corp., 340 F.3d 478, 486 (7th Cir. 2003)

       Kelly Services cannot deprive the jury of such a critical function by omitting punitive

damages from the jury verdict form. This Court must, therefore, deny Kelly’s Proposed Jury

Verdict form and instead instruct the jury on punitive damages as proposed by Plaintiff in her

Proposed Jury Instruction No. 3 and provide the jury with Plaintiff’s Proposed Jury Verdict Form

containing a verdict for punitive damages.

                                                             Respectfully submitted,

                                                             BRENDA BROWN

                                                             By:/s/ Marshall J. Burt
                                                                    Her attorney
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       The evidence supporting these facts will be set forth in the Plaintiff’s Response to the
Defendant’s recently filed Motion for Summary Judgment.

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                                 CERTIFICATE OF SERVICE


I hereby certify that on October 4, 2017, I electronically filed the foregoing document with the

Clerk of Court using the CM/ECF system which will send notification of this filing to the

following attorneys of record:

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                                                      /s/ Marshall J. Burt




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